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   DISTRICT COURT,CITY AND COUNTY OF DENVE [LI G II): tECF~'9~3F96~2~
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   STATE OF COLORADO                                            C.aS? NUMT~FR: ~o18C~'322z7

   1437 Bannock Street
   Denver, CO 80202

  PLAINTIFF:
  TREVOR L. JONES, an individual,

   v.

   DEFENDANTS:
   HEALTHONE d/b/a THE COLORADO HEALTH
   FOUNDATION,a Colorado nonprofit corporation; JEFFREY              ~ COURT USE ONLY
   PICKARD, an individual; BRIAN G. DWINNELL,an
   individual; and GLENN LEVY, an individual.
                                                                     Case No.: 2018CV
   ATTORNEYS FOR PLAINTIFF:
   GOODSPEED & MERRILL
   Miro Kovacevic, #35981                                            Division:
   Scott W. Drusch, #42494
   7800 East Union Avenue, Suite 600
   Denver, CO 80237
   Telephone:(720)473-7644
   Email:.r71k~r%goodspeedinerrill.com
          sdrusch~~:;;oodspeed~nerrill.coni


                              COMPLAINT AND JURY DEMAND


          Plaintiff Trevor L. Jones, by and through his undersigned counsel, Goodspeed &Merrill,

   hereby states his Complaint against Defendants as follows:

                            PARTIES,VENUE,AND JURISDICTION

                  Plaintiff Trevor L, Jones ("Plaintiff") is an individual who resides in Douglas

   County, Colorado.
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          2.      Defendant HealthONF d/b/a The Colorado Health Foundation ("CHF") is a

   Colorado nonprofit corporation and its principal offices are located in the City &County of

   Denver, Colorado.

          3.      Defendant Jeffrey Pickard, M.D. ("Dr. Pickard") is an individual who, on

   information and belief, resides in the City &County of Denver, Colorado.


          4.      Defendant Brian G. Dwinnell, M.D. ("Dr. Dwinnell") is an individual who, on

   information and belief, resides in Arapahoe County, Colorado.

          5.      Defendant Glenn Levy ("Mr. Levy") is an individual who, on information and

   belief, resides in the City &County of Denver, Colorado.


          6.      Venue is proper before this Court ptusuant to C.R.C.P. 98(c) because at least one

   of the Defendants resides in the City &County of Denver, Colorado.

          7.      The Court has personal jurisdiction over the Defendants pursuant to C.R.S. § 13-

   1-124(b).

                                     GENERAL ALLEGATIONS

          8.      This dispute concerns CHF, Dis. Pickard and Dwinnell, and Mr. Levy's

  (collectively, the "CHF Defendants") pre-mediated and tortious, collective scheme to destroy

   Plaintiff's promising medical career• as a dermatologist.

                                      CHF's Iizternship Prog~^am


          9.      CHF runs a Transitional Internship Program (the "Program" or the "Internship

   Program"), which is operated at the Presbyterian/St. Luke's Medical Center ("PSL"), in Denver,
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   Colorado.

           10.    The Internship Program is a one-year, educational and preparatory program for

   recent medical school graduates who will enter specialized residencies the following year•.

           1 1.   Eacli year, the Internship Program employs twelve interns for ayear-long session.

   Each intern is allegedly expected to participate in twelve, one month long rotations in various

   areas of medicine. The ptu~ported curriculum includes: five inpatient rotations (foie• internal

   medicine and one hematology/oncology/bone marrow transplant service), one emergency

   medicine rotation, one ambulatory or outpatient rotation, one research rotation, one business in

   medicine rotation, one surgery rotation, and two elective rotations.


           12.    The Internship Program's Director is Dr. Pickard. Dr. Dwinnell is CHF's Director

   of Medical Education. Mr. Levy is a Senior Director with CHF's Medical Education Department.

   Drs. Pickard and Dwinnell are both Mr. Levy's subordinates.

                            Plaintiff's Backgrouizd and YeliicCe ColXision

           13.    After observing a close family member fight melanoma while he was in college,

   Plaintiff decided that he wanted to be a dermatologist.

           14.    In pursuit of this goal, Plaintiff graduated with a Doctor of Medicine from the

   University of Arizona, College of Medicine on May 15, 2015.

           15.    Due to his excellent academic record and application, the National Resident

   Matching Program ("NRMP") matched Plaintiff with the Internship Program to start in June,

   2015.

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          16.        The NMRP further matched Plaintiff to start with the Dermatology Residency

   Training Program with the Carver College of Medicine Department of Dermatology at the

   University of Iowa (the "University of Iowa") in Jttly, 2016.

          17.        The University of Iowa's medical school is one of the top ranked medical schools

   in the country.


          18.        Dermatology is one of the highest paying specialties for medical doctors.

           19.       Plaintiff coininenced his internship and employment with CHF through the

   Internship Program in June, 2015.

          20.        On August 1, 2015, just a few weeks after the Program began, a motor vehicle

   struck Plaintiff as he jogged through a crosswalk.

          21.        The impact resulted in a smashed windshield and a severely injured and

   unconscious Plaintiff laying on the pavement. He was 28 years old.

          22.        As a result of the collision, Plaintiff sustained significant injuries, including a

   traumatic brain injury, which caused memory issues, sensitivity to light, difficulty reading and

   seeing far distances, speech problems, and loss of hearing in his right ear. He also suffered a

   broken rib and injuries to his right leg, right hand and arm, and experienced numbness in his face

   and tongue.

          23.        Plaintiff's injuries were so significant that he spent the next forty-nine days after

   the collision as an inpatient at Denver Health and then Craig Hospital.

          24.        On September 18, 2015, Plaintiff left Craig Hospital and embarked on an

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   extensive rehabilitation program at Sky Ridge Medical Center, in Lone Tree, Colorado. This

   program, which lasted until March, 2016, was specifically designed to ensure he was capable to

   return to the Internship Program in June, 2016.

          25.      Due to his injuries, the NMRP granted Plaintiff a one year deferment of his entry

   into the Internship Program Luitil June, 2016, and the University of Iowa until July, 2017,

   respectively.


          26.      By the spring of 2016 and due to the help of Denver Health, Craig Hospital, Sky

   Ridge, a team of personal specialists, and other healthcare professionals, Plaintiff was cleared to

   reenter the Internship Program.

          27.      On March 15, 2016, Plaintiff's personal injury attorney filed a lawsuit against the

   driver who struck him. The driver's insurance company provided her with representation. See

   Jones v. Masterson, 2016CV30900, City &County of Denver District Cotu-t, Colorado (the

  "Collision Action")

          28.      In medicine, patients' medical .information and records are usually stored in

   Electronic Medical Records("EMR")systems hosted on a computer.


          29.      Doctors use EMR systems to record observations, notes, and recommendations

   about the patient, as well as learn about the patient from other observers. In order to access or

   input information into the system, an individual needs to be able to read a computer screen.

          30.      During his rehabilitation with Sky Ridge, Plaintiff learned that he had dif~cultics

   reading and using a certain EMR system known as Meditech, although he did not have issues


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   reading other types of computer screens or EMR systems.


          31.     Plaintiff understood that PSL's inpatient services used the Meditech system.

   Starting in April, 2016, Plaintiff repeatedly .informed the Program about this issue.


             CHF Defen~'ants ImpropeNly Disclosed Plaintiff's Medical Infornzatio~c and
                 Tortiously Attempted to Force Hrm fYorn the Internship Program

          32.     The CHF Defendants were well aware of Plaintiff's disabilities and the difficulties

   he would face reentering the Program. In fact, Dr. Pickard visited Plaintiff numerous times in the

   hospital and during his rehabilitation.

          33.     After the accident, the CHF Defendants improperly and falsely decided that

   Plaintiff would not be able to become a dermatologist, and became determined to dissuade

   Plaintiff from continuing to become a dermatologist.


          34.     Instead of focusing on appropriate reasonable accommodations to address

   Plaintiff's disabilities, the CHF Defendants dedicated their attention to improperly researching

   Plaintiff's medical conditions and prognosis to confirm their own "diagnosis" that Plaintiff was

   not capable of becoming a dermatologist.


          35.     For example, although numerous health care professionals had opined that

   Plaintiff was fit and ready to return to the Program, Dr. Pickard unilaterally decided to refer

   Plaintiff to the Colorado Physician Health Program ("CPHP") to have it evaluate whether

   Plaintiff was physically and mentally capable of returning to the Program.

           36.    Dr. Pickard made the referral without confert~ing with Plaintiff. Dr. Pickard further

   explicitly conditioned Plaintiff's rettu-~i to the Program on the successtitl completion of CPHP's
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   evaluation over Plaintiff's protests.

           37.    Plaintiff attended his appointment with CPHP in March, 2016. While Plaintiff was

   at CPHP, he was given a full medical and psychiatric evaluation. He was also required to execute

   a release so that CPHP could share his confidential and sensitive medical information with Drs.

   Pickard and Dwinnell.

           38.    Although disputing its necessity, Plaintiff executed the release because he felt he

   had no other choice but to sign the release. Further, Drs. Pickard and Dwinnell were doctors and

   his superiors at the Program. He trusted them and reasonably believed that they would treat his

   medical inforination as confidential.

           39.    On May 23, 2016, CPHP determined that Plaintiff was able to return and

   recommended that he be permitted to reenter the Internship Program the following month. Drs.

   Pickard and Dwinnell were provided this information.

           40.    On June 1, 2016, Plaintiff met with the CHF Defendants to discuss 11is return to

   the Internship Program. Plaintiff described his disabilities, which included visual issues and

   dexterity problems with his right hand. He further detailed the reasonable accommodations

   directed by his treating physicians that he would need when he returned to the Program,

   including a maximum workweek of forty hours, no night shifts, additional time for him to

   complete certain tasks, and time to allow his hand to continue to strengthen.

           41.    Plaintiff rematriculated into the Internship Program as scheduled on June 23,

   2016.


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          42.     Plaintiff encountered no issues in the first twelve days of the Program.

   Nonetheless, on July 5, 2016, Dr. Pickard again refereed Plaintiff to another doctor —this time an

   optometrist who graduated from the Internship Program under Dr. Pickard.

          43.     Because he already had multiple optometrists caring for him, Plaintiff protested.

   Again, however, Dr. Pickard made it clear that this was not optional, Nonetheless, when Plaintiff

   went to meet the optometrist, she noted that she was unqualified to evaluate him.

          44.     On or about August 16, 2016, Dr. Pickard asked Plaintiff for permission to speak

   with Plaintiff's personal optometrist to discuss her prognosis for Plaintiff's vision. Dr. Pickard

   required Plaintiff to execute a release so that he could access Plaintiff's medical records. Plaintiff

   consented only because he did not feel as if he had a choice.

          45.     On October 5, 2016, Plaintiff met with Drs. Pickard and Dwim1e11. Dr. Pickard

   explicitly stated that he did not believe that Plaintiff would ever become a dermatologist. He

   further recommended that Plaintiff take one of his rotations at the University of Iowa just so he

   would understand how his disabilities would prevent him from becoming a dermatologist.

          46.     The CHF Defendants further intentionally ignored Plaintiff's reasonable request

   and need to limit his work schedule.

          47.      Tn a blatant attempt to drive Plaintiff from the Program, the CHF Defendants

   ignored Plaintiff's reasonable requests for accommodation, without providing any alternatives,

   and made Plaintiff work 280 hours in his first inpatient rotation (which exceeded the amount

   Plaintiff's doctors recommended by more than 100 hours).


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           48.    When the CHF Defendants were unable to discover anything that would prevent

   Plaintiff from becoming a dermatologist and failed to drive him out of the Program through their

   outrageous conduct, the CHF Defendants changed their tactics.

           49.    In a series of communications, they improperly divulged confidential and false

   information regarding Plaintiff's medical condition to the University of Iowa in order to persuade

   it to deny him entry into its dermatology program.

           50.    In the weeks leading up to his reentry to the Program, Plaintiff decided to start

   establishing a rapport with his future boss. In May, 2016, Plaintiff drove to Iowa to meet with the

   Program Director of the University of Iowa's Dermatology Program, Maly Storie M.D. ("Dr.

   Stone").

           51.    Despite being aware of Plaintiff's accident and the extent of his injuries, Dr. Stone

   expressed no concern over Plaintiff's ability to enter, participate, and succeed at the University of

   Iowa's program during this uutial meeting.

           52.    On August 31, 2016, Dr. Pickard met with Plaintiff to discuss his performance

   during his first inpatient rotation. During this meeting, D.r. Pickard mentioned that he intended to

   contact the University of Iowa to discuss Plaintiff's training. Dr. Pickard did not mention that he

    would talk to Dr. Stone about anything else, especially Plaintiff's disabilities or medical

   conditions.

           53.     A few weeks later, on October 5, 2016, Drs. Pickard and Dwinnell told Plaintiff

    that they and Mr. Levy had spoken with Dr. Stone. They stated that they discussed the possibility

    of Plaintiff completing a rotation of his internship with the University of Iowa. They further
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   admitted that that they had discussed Plaintiff's visual disabilities with Dr. Stone.

          54.     Plaintiff never consented to CHF sharing his medical information with the

   University ofIowa.

          55.     Based upon the CHF Defendants' comments, Dr. Stone became very concerned

   with Plaintiff's ability to see patients' skin and become a dermatologist.

          56.     The CHF Defendants' communications to Dr. Stone had the intended impact. On

   November 22, 2016, Dr. Stone sent an unsolicited letter to Plaintiff and, for the tii•st time,

   conveyed concerns about Plaintiff's abilities to be a resident. A true and correct copy of this letter

   is attached hereto and incorporated herein by reference as Exhibit 1.

          57.     Contrary to Dr. Pickard's claim on August 31, 2016 that he intended to call Dr.

   Stone only to determine whether Plaintiff could complete a rotation at the University of Iowa, Dr.

   Stone indicated that they had contacted her in order to share his disabilities and sensitive medical

   information. See Exhibit 1.

          58.     On January 13, 2017, Dr. Stone wrote an email to Plaintiff and stated: "As patient

   safety must be our first priority, and all residents must be able to successtiilly complete all

   aspects of training in order to safely care for patients, please let us know if any of these issues

   could impact your training." A true a correct copy of this email is attached hereto and

   incorporated herein by reference as Exhibit 2.

           59.    This email was unsolicited by Plaintiff and further confirms that the CHF

   Defendants conveyed false information regarding Plaintiff's visual disabilities to Dr. Stone and


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   the University of Iowa.


          60.     In response to this email, Plaintiff spoke with Dr. Stone via telephone. She

   confirmed that Drs. Pickard and Dwinnell acid Mr. Levy had informed her about his medical

   conditions. She further stated that based upon the infoi7nation she had received from the CHF

   Defendants, Plaintiff should find another specialty.


          61.     On March 17, 2017, Dr. Stone sent another letter to Plaintiff A true a correct copy

   of this email is attached hereto and incorporated herein by reference as Exhibit 3.


          62.     Therein, Dr. Stone stated that based upon the information provided by the CHF

   Defendants, she doubted whether Plaintiff would be able to perform the essential functions of his

   residency and that his medical conditions posed a safety risk.


          63.     Dr. Stone's comments confirm that she believed that Plaintiff's impairments were

   permanent. None of Plaintiff's physicians ever made this conchision. Plaintiff had also never

   conveyed this opinion to anyone.


          64.     Dr, Stone's letter further establishes that the CHF Defendants intentionally misled

   Dr. Stone regarding the extent of Plaintiff's visual impediments. At that time, Plaintiff's visual

   disability prevented him from using Meditech on his own. However, the University of Iowa does

   not use Meditech — it uses EPiC. This is a system that Plaintiff had no issue using. Dr. Stone's

   statements reflect that she believed that Plaintiff's visual issues applied to more than just

   Meditech. Her comments further illustrate that she believed that Plaintiff was unable to see a

   patient's skin. These conclusions about Plaintiff's medical conditions are patently false.


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          65.     Due to the CHF Defendants' representations, the University of Iowa sought a

   waiver of its match with Plaintifffrom the NMRP.

          66.     In order to support the request, the NMRP contacted and obtained information

   from CHF. Upon information and belief, the NMRP granted the University of Iowa's request

   based upon the false and misleading information provided by CHF.


          67.     Through their intentional conduct, the CHF Defendants improperly and without

   authority disclosed Plaintiff's sensitive medical information to third-parties. The CHF

   Defendants further disclosed false information to Dr. Stone and the NMRP. The CHF

   Defendants' conduct ultimately caused Plaintiff to lose his place at the University of Iowa and a

   career in dermatology.


                               The CHF Defendants Defrauded Plaintiff

          68.     Plaintiff is disabled. The CHF Defendants were well aware of Plaintiff's needs

   and requests for reasonable accommodation.


          69.      Although Plaintiff was cleared to re-enter the Program by the CPHP, he needed

   additional time to fully heal from the injuries he suffered as a result of the vehicle collision.


           70.    Despite being aware of Plaintiff's disabilities and need for accommodations, the

   CHF Defendants denied his requests and refused to enter into the interactive process to ascertain

   any alternatives.

           71.     The focus of Plaintiff's accommodations concerned the inpatient rotations. The

   non-inpatient rotations utilize EMR systems known as "EPIC" acid "eClinicals," while the

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   inpatient rotations use Meditech.

          72.     Plaintiff was able to utilize EPIC and eClinicals with little difficulty and, in fact,

   did very well on each outpatient rotation. Plaintiff's disabilities made it very difficult to use

   Meditech.

          73.     Plaintiff's first rotation was in outpatient, where he did very well.

          74.     Plaintiff's second rotation was in inpatielrt, which started on July 23, 2016 and ran

   through August 22, 2016. Although CHF was well aware of Plaintiff's disabilities and requests

   for reasonable accommodations long before the rotation, CHF ignored them all and offered him

   no alternatives.

          75.     Plaintiff was required to work night shifts and ultimately was required to work

   280 hours that month, nearly doubling the amount recommended by his doctors. In addition to

   the inappropriate workload, Plaintiff experienced significant issues accessing the Meditech EMR

   system.

          76.     CHF's failure to provide Plaintiff with any reasonable accommodations

   significantly impacted his health and his ability to perform in the inpatient rotation.

          77.     Plaintiff's third rotation was an elective, which ran from August 23, 2016 through

   September 22, 2016. Despite having over approximately six months to do so, Drs. Pickard and

   Dwinnell finally scheduled a meeting with Plaintiff and PSL's information technology employees

   to discuss what accommodations they could employ with Meditech immediately after Plaintiff's

   inpatient rotation. The employees claimed that they could not provide accommodations to enable


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       Plaintiff to utilize Meditech on his own. CHF failed to discuss or offer any alternatives.

              78.     Plaintiff's fourth rotation was in emergency medicine at Denver Health, which ran

       between from September 23, 2016 until October 22, 2016. Plaintiff did well on the rotation and

       was provided positive feedback. Like the outpatient rotations, this rotation utilized EPIC as its

       EMR system, not Meditech.

              79.     In September, 2016, during Plaintiff's folu-th rotation, CHF informed Plaintiff that

       he was being assigned a "scribe" during the upcoming inpatient rotation. The scribe was a

       contract nurse at PSL and lacked any training to be a scribe for a physician. She was available

       only during daytime shifts in inpatient rotations, thus leaving Plaintiff without any

       accommodations during his night shifts.

              80.     CHF failed to give any guidelines or instructions to either the scribe or Plaintiff

       regarding the scribe's duties and the protocols to be used.

               81.    Plaintiff did not have another inpatient rotation until his eighth rotation from

       January 23, 2017 through February 22, 2017.

               82.    In the weeks and months after his first two inpatient rotations, Plaintiff started

`      experiencing blurred vision and pain in his right eye. On February 8, 2017, Plaintiff had an

       emergency appointment with his optometrist who diagnosed a corneal ulcer. That same day, due

       to the scribe's inappropriate behavior, Plaintiff was forced to discontinue using the scribe.

               83.    CHF directed Plaintiff to attend a meeting to be held on Febniary 10, 2017. At the

       meeting, the CHF Defendants informed Plaintiff that he had been placed in a remediation plan


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   due to alleged concerns over his performance. A remediation plan is a process by which the

   Program ptuports to assist interns with alleged performance issues.

          84.     The CHF Defendants failed to adhere to its own protocols and procedures in

   placing Plaintiff in the remediation plan.

           85.    Despite having alleged notes or records from virtually every other meeting, CHF

   failed to make or otherwise produce any record of the February 10, 2017 meeting.

           86.    In a follow up meeting on Febniary 13, 2017, CHF confirmed that Plaintiff's

   participation iri the remediation plan was a requirement to his continued involvement with the

   Program. Plaintiff informed CHF personnel about his corneal ulcer at these meetings with no

   response.

           87.    On March 1, 2017, Plaintiff met with the CHF Defendants and additiotlal

   personnel to review his performance during the previous nine days in remediation. The meeting

   became very heated when a PSL hospitalist yelled at Plaintiff and falsely claimed that the reason

   Plaintiff was in remediation was because he had observed Plaintiff's performance. When Plaintiff

   again raised the issue of his corneal ulcer, Dr. Pickard admonished hiin that, unless he intended

   to take leave, not to use it as an excuse. Finally, Plaintiff repeatedly raised his concern that some

   of the issues raised by CHF, which purportedly resulted in him being placed into remediation,

    may have been caused by his scribe. These appeals went ignored and were never investigated.

           88.    Due to the severity of his corneal ulcer, which was brought on by CHF's failure to

    provide the requested reasonable accommodations, Plaintiff was ultimately forced to take a leave

    of absence. Effective March 24, 2017, Plaintiff began his leave pursuant to the Family and
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   Medical Leave Act("FMLA")through Jiuie 15, 2017.


          89.     Before taking FMLA leave, CHF never asked Plaintiff whether he required

   reasonable accommodations in relation to his corneal ulcer.


          90.     As of the time his FMLA leave began, Plaintiff only had to complete tlu•ee more

   rotations before finishing the Program's requirements.

          91.     As the time for Plaintiff's return to the Program approached, he and CHF started

   communicating regarding his rehirn.

          92.     These discussions dragged on. In fact, CHF would take literally months to

   respond to Plaintiff's email requests for reasonable accommodations. For example, Plaintiff

   responded to inquiries regarding his requests for reasonable accommodations and his medical

   condition on August 7, 2017. CHF did not respond for more than six weeks; i.e., September 20,

   2017. And, far from detailing exactly what accommodations would be provided, CHF stated that

   it would require Plaintiff to complete an inpatient rotation, but failed to provide any solutions to

   the issue with Plaintiff using Meditech. CHF further rejected Plaintiff's requests concerning the

    number of hours he worked.

           93.    The CHF Defendants intentionally delayed Plaintiff's return to the Program.


           94.    Eventually, as Plaintiff waited for additional information and response, he

    received information from CHF indicating that it would send him COBRA information. In fact,

    in the beginning of January, 2018, ten months after he went on FMLA leave, Plaintiff's medical

    insurance was denied, thus confirming that Plaintiff had been terminated effective January 1,


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   2018.


           95.    The CHF Defendants knew of their obligation to provide Plaintiff with reasonable

   accommodations. Instead of seeking to accommodate his disabilities, the CHF Defendants forced

   Plaintiff to endure numerous unnecessary doctor appointments, compelled him to work almost

   double the amount his doctors directed, which caused his corneal ulcer, divulged his sensitive

   medical information to third-parties, and spread false and misleading medical information to

   third-parties. They did this all in a patent attempt to drive Plaintiff from the Program because

   they did not believe he could be a dermatologist.

           96.    As the discussions amongst the parties regarding Plaintiff's retui7i to the Program

   dragged on in the summer and fall of 2017, Plaintiff repeatedly asked for reasonable

   accommodations in accordance with his doctors' directives, including only having to complete

   three more outpatient rotations, which was acceptable to the Accreditation Council for Graduate

   Medical Education (the "ACGME")

           97.    On December 11, 2017, CHF denied the request and stated that Plaintiff would

   have to complete inpatient rotations to complete the Interiiship Program.


           98.    Due to this denial, Plaintiff believed that he would never be able to complete the

   Inter~~ship Program or obtain his medical license.

           99.    On January 22, 2018, Dr. Pickard was deposed in the Collision Action.

           100.   Without previous notice and despite months of rejecting Plaintiff's requests, Dr-,

   Pickard confirmed under oath that all of Plaintiff's requested reasonable accommodations would


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   be available to him. Dr. Pickard further testified that Plaintiff could return within a week.

          101.    The next day, Plaintiff emailed Dr. Pickard to confirm that the reasonable

   accommodations he requested would be made in order to allow Plaintiff to complete the

   Program. A true and correct copy of this email is attached hereto and incorporated herein by

   reference as Exhibit 4.

          102.    Dr. Pickard responded on January 26, 2018. A true and correct copy of this email

   is attached hereto and incorporated herein by reference as Exhibit 5. Therein, t11e CHF

   Defendants confirm that all of Plaintiff's requested reasonable accommodations would be

   provided.

           103.   By virtue of Dr. Pickard's deposition testimony on January 22, 2018 and his

   January 26, 2018 email, the CHF Defendants represented that they would provide Plaintiff wit11

   all requested reasonable accommodations in order to complete the Program.

           104.   By virtue of the CHF Defendants' representations that all requested reasonable

   accommodations would be provided, the CHF Defendants confirmed that Plaintiff would not be

   required to complete anymore inpatient rotations because CHF was unable to provide certain of

   the requested accommodations during inpatient rotations (e.g., certain software that Plaintiff used

   to access outpatient EMRs is incompatible with the inpatient EMR,Meditech.).

           105.    The CHF Defendants' representations that Plaintiff would not be required to

   complete any further inpatient rotations is substantiated by the fact that, as provided in Dr.

   Pickard's January 26, 2018 email, Plaintiff's next rotation was changed to outpatient, even.

   though it was supposed to be inpatient.
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          106.    As the CHF Defendants are aware, Plaintiff was concerned that he would never

   complete the Program due to his disabilities and CHF's refusal to provide reasonable

   accommodations. Plaintiff sought significant damages in the Collision Action to recover the

   damages as a result of losing a career as a dermatologist. With the CHF Defendants'

   representations that all of Plaintiff's reasonable accommodations would be provided and he only

   needed to complete outpatient rotations to finish the Internship Program, a ray of light was cast

   upon Plaintiff's future as a dermatologist.

          107.    Plaintiff reasonably relied upon the CHF Defendants' representations that all

   requested reasonable accommodations would be provided and that he would not need to

   complete anymore inpatient rotations. As a result of his reliance upon the CHF Defendants'

   representations, Plaintiff immediately settled the Collision Action at a significant discount and

   prepared to return to the Program.


           108.   At the time of Dr. Pickard's deposition, neither he nor the remaining CHF

   Defendants intended to permit Plaintiff to complete the Program.

           109.   Dr. Picicard's confirmation that CHF would provide all requested accommodations

   in his January 26, 2018 email was intentionally false. The CHF Defendants issued this

   communication with the intention of inducing Plaintiff to settle the Collision Action and to return

   to the Internship Program.

           110.   Despite Plaintiff's explicitly stated understanding of Dr. Pickard's representations,

   the CHF Defendants never intended to provide the reasonable accommodations nor permit

   Plaintiff to complete the Program by completing only outpatient rotations.
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           111.     Despite never intending to allow Plaintiff to complete the Program, the CHF

   Defendants intentionally allowed Plaintiff to proceed with his explicitly stated understanding that

   he would receive the expected reasonable accommodations, including needing to only complete

   outpatient rotations to complete the Program, and would be pei-~nitted a fair opportunity to finish

   the Internship Program.


           112.     The CHF Defendants' fraudulent and misleading intentions are confirmed by their

   counsel's conduct. The CHF Defendants, through their counsel in the Collision Action,

   forwarded Dr. Pickard's January 26, 2018 email to the driver's insurance appointed counsel in

   the Collision Action immediately after it was sent. Upon information and belief, the CHF

   Defendants and the insurance company, through their counsel, contrived to have Plaintiff return

   to the Program with the aim of having Plaintiff settle the Collision Action at a significant

   discount.

           1 13.    Per Dr. Pickas•d's instruction, Plaintiff appeared at PSL on January 30, 2018 to

   report to the Program.

            1 14.   Contrary to Dr. Pickard's representations, the Program was not prepared for his

   return. For approximately the next two weeks, Plaintiff was required to sit in a room by himself

    and had no patients to treat.

            1 15.   On March 26, 2018, Plaintiff met with Dr. Pickard and his colleague to discuss

   Plaintiff's performance in his last rotation and his firture plans.

            1 16.   During this meeting, Dr. Pickard told Plaintiff that his email promising all

    reasonable accoininodations did not mean anything. He further stated he made the promise for
                                                20
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   the explicit purpose of inducing Plaintiff to return to the Program. Dr. Pickard also said that,

   despite the promises of reasonable accommodation, Plaintiff would need to complete inpatient

   rotations using the Meditech system in order to complete the Program.

           1 17.   The March 26, 2018 meeting was the first time since Plaintiff returned in January,

   2018 that anyone mentioned that Plaintiff would need to complete an inpatient rotation to

   graduate from the Program.

           118.    Dr. Pickard's statement during this March 26, 2018 meeting that Plaintiff would

   be required to complete inpatient rotations confirms that the CHF Defendants intentionally and

   falsely promised to: (i) provide all requested reasonable accommodations, including allowing

   Plaintiff to complete the program by completing only outpatient rotations; and (ii) to allow

   Plaintiff an opportunity to complete the Program.

           119.    Dr. Pickard's statements in the March 2h, 2018 meeting further confirm that the

   CHF Defendants did not intend to permit Plaintiff to complete the Program despite their January,

   2018 representations to the contrary.

           120.    Nothing was said during the March 26, 2018 meeting that would indicate that

   Plaintiff had a limited amount oftime to complete the Program.

           121.    The CHF Defendants are responsible for assigning interns to rotations. The CHF

   Defendants never offered Plaintiff an opportunity to complete an inpatient rotation with or

    without reasonable accommodation after his return in January, 2018.

           122.    On April 30, 2018, Dr. Pickard and others met with Plaintiff. During that meeting,


                                                   21
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   Plaintiff was informed that, as of June 23, 2018, the Program was being acquired by HCA (upon

   information and belief, the Healthcare Corporation of America), CHF would no longer offer the

   Internship Program, Plaintiff would not be receiving his certification of completion of the

   internship Program, and that he would not have a spot in the Internship Program the following

   year. This was the first time Plaintiff learned any of this information or time constraints.

           123.    Without receiving the certification of completion of the Internship Program,

   Plaintiff will not be able to obtain his medical license. Due to his impending non-completion of

   the Internship Prograni, Plaintiff would be required to re-apply with the NMRP in order to get re-

   matched with another transitional year program and residency. Due to the false and misleading

   information that the CHF Defendants disseminated to the NMRP and others, the loss of

   significant time attempting to complete the Internship Program which was inappropriately

   prolonged via the CHF Defendants' intentional delay, and Plaintiff's inability to create acid

   submit another appropriate application, ally attempt by Plaintiff to re-ap~~ly at this point is futile.

           124.    During the April 30, 2018 meeting, Dr. Pickard further admitted that he knew

   about the timing issues long before Plaintiff returned to the Program in January, 2018.

   Nonetheless, the CHF Defendants never gave Plaintiff notice of these significant problems, nor

    did they ever give Plaintiff an opportunity to complete the Program with or without reasonable

    accommodations. The CHF Defendants purposefully concealed this information from Plaintiff.

           125.    Tlu•ough their pre-meditated and tortious conduct, the CHF Defendants

    intentionally delayed Plaintiff's reintegration into the Program and falsely promised to provide

    reasonable accommodations in their final move to destroy Plaintiff's medical career acid his

                                                     22
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   ability to recover the amounts owing to him due to the car wreck. As evidenced by this delay acid

   their intentional failure to inform Plaintiff of these purported significant time constraints, the,

   CHF Defendants never intended to permit Plaintiff to complete the Internship Program upon his

   return in January, 2018.

           126.    That the CHF Defendants intentionally sought to defraud Plaintiff froi~n the

   damages he sought in the Collision Action is further confirmed by their conduct therein. The

   CHF Defendants were required to produce scores of documents. The CHF Defendants' document

   production was skewed and only aimed at producing potentially negative information regarding

   Plaintiff. Numerous emails that the CHF Defendants admitted were sent or received were never

   produced. Positive reviews that were admitted to have been ct•eate.d were never' produced.

           127.    The CHF Defendants also doctored, manipulated, or outright falsified notes grid

   records relating to Plaintiff's performance and the contents of alleged meetings with Plaintiff.

   Upon information and belief, the CHF Defendants' counsel and the driver's instu•ance appointed

   counsel were further in contact regarding Dr. Pickard's second deposition and his confirmation

   regarding the CHF Defendants' false offer to provide reasonable accommodation. This suggests

   that the CHF Defendants and the driver's insurance company worked together to induce Plaintiff

   to forego trial in the Collision Action and settle his claims at a significant discount.

                                    FIRST CLAIM FOR RELIEF
                  (Intentional Interference with Contract Against CHF Defendants)

           128.     Plaintiff incorporates herein the foregoing paragraphs of the Complaint as if

   reinstated in full herein.

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          129.     Valid agreements existed between Plaintiff and the University of Iowa and NMRP.

          130.     The CHF Defendants were aware of these agreements. In particular, the CHF

   Defendants were aware that the NMRP matched Plaintiff with the University of Iowa fc~r a

   residency in dermatology.

          131.     The CHF Defendants, by words and conduct, intentionally and wrongfully caused

   the University of Iowa and the NMRP to not perform and/or terminate their respective

   agreements with Plaintiff, aild/or interfered with the University of Iowa and the NMRP's

   performance of their obligations under their respective agreements with Plaintiff.

           132.    The CHF Defendants' interference was improper and was motivated by malice.

           133.    The CHF Defendants' conduct damaged Plaintiff in an amount to be determined

   at trial, including without limitation, actual, incidental, consequential, and compensatory

   damages, and interest.

                                  SECOND CLAIM FOR RELIEF
                   (Intentional Interference with Prospective Business Advantage
                                      Against CHF Defendants)

           134.    Plaintiff incorporates herein the foregoing paragraphs of the Complaint as if

   reinstated in full herein.

           135.    Plaintiff had a reasonable expectation of entering and completing the dermatology

   residency at the University of Iowa.

           136.    Plaintiff also had a reasonable expectation of becoming a dermatologist.

           1.37.   Plaintiff expected to derive significant pecuniary benefit from entering the
                                                   24
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   University of Iowa and becoming a dermatologist.

           138.     The CHF Defendants intentionally and improperly interfered with Plaintiff's

   prospective business advantage of entering the University of Iowa and becoming a

   dermatologist.

           139.     The CHF Defendants knew or reasonably should have known about Plaintiff's

   prospective business advantages.

           140.     The CHF Defendants' conduct damaged Plaintiff in an amount to be determined

   at trial, including without limitation, actual, incidental, consequential, and compensatory

   damages, and interest.

                                   THIRD CLAIM FOR RELIEF
                                  (Fraud Against CHF Defendants)

           141.     Plaintiff incorporates herein the foregoing paragraphs of the Complaint as if

   reinstated in full herein.

           142.     The C~-IF Defendants made fraudulent misrepresentations of material fact to

   Plaintiff regarding his ability to return to the Internship Program in January, 2018 and the

   reasonable accommodations which would be provided upon his return.

           143.     These fraudulent misrepresentations were made to Plaintiff both verbally and in

   writing, including, without limitation, via email.

           144.     The CHF Defendants' fraudulent misrepresentations include Dr. Pickard's January

   22, 2018 deposition testimony where he stated that Plaintiff could return to the Program with all


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   reasonable accommodations he requested and via Dr. Pickard's January 26, 2018 email

   confii7ning that all reasonable accommodations would be provided to Plaintiff.

           145.   The CHF Defendants made these material ~roinises and representations kno~~ing

   they were false, or made them with a reckless disregard as to their truth or falsity.

           146.   Plaintiffjustifiably and actually relied upon these representations, which resulted

   in him foregoing his right to trial in the Collision Action, settling the claim in the Collision

   Action at a significant discount, and returning to the Interilship Program.


           147.    Plaintiff's reliance upon the CHF Defendants' misrepresentations caused him

   damage in an amount to be determined at trial, ineludulg without limitation, actual, incidental,

   consequential, and compensatory damages, and interest.

                                 FOURTH CLAIM FOR RELIEF
                      (Negligent Misrepresentation Against CHF Defendants)

           148.    Plaintiff incorparates herein the foregoing paragraphs of the Complaint as if

   reinstated in full herein.

           149.    The CHF Defendants made repeated misrepresentations of material fact to

   Plaintiff regarding his ability to return to the Internship Program in January, 2018 and the

   reasonable accommodations which would be provided upon his return.

           150.    These repeated statements were made to Plaintiff both verbally and in writing.

           151.    Plaintiff reasonably relied upon the CHF Defendants' misrepresentations, which

   directly caused Plaintiff to stop pursuing his claims in the Collision Action and returning to the


                                                    26
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   Internship Program.


           152.    Plaintiff's reliance upon the CHF Defendants' misrepresentations caused him

   damage in a~1 amount to be determined at trial, including without limitation, actual, incidental,

   consequential, and compensatory damages, and interest.


                                   FIFTH CLAIM FOR RELIEF
                           (Promissory Estoppel Against CHF Defendants)


           153.    Plaintiff incorporates herein the foregoing paragraphs of the Complaint as if

   reinstated in full herein.


           154.    The CHI' Defendants made various promises to Plaintiff regarding his ability to

   return to the Internship Program in January, 2018 and the reasonable accommodations which

   would be provided upon his return.


           155.    The CHF Defendants intended, or at least reasonably should have expected, that

   their promises would induce action or forbearance by Plaintiff, including without limitation,

   foregoing his claims in the Collision Action.


           156.    Plaintiff actually and justifiably relied upon such promises by the CHF

   Defendants to his detriment, and consequently suffered damages, and is entitled to an award of

   actual or compensatory damages, and/or restitution, and consequential damages all iu amounts to

   be proven at trial.


                                    SIXTH CLAIM FOR RELIEF
                         (Breach of Fiduciary Duty Against CHF Defendants)


           157.    Plaintiff incorporates herein the foregoing paragraphs of the Complaint as if

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   reinstated in full herein.


           158.    The CHF Defendants are Plaintiff's superiors, employers, instructors, and

   mentors.

           159.    The CHF Defendants occupied a superior position over Plaintiff and were able to

   influence or affect his interests.

           160.    The CHF Defendants repeatedly informed Plaintiff that all of their efforts were to

   ensure that Plaintiff"succeeds" at the Program.

           161.    The CHF Defendants represented that they understood the sensitivity of Plaintiff's

   personal, sensitive, and confidential medical information. Indeed, two of the CHF Defendants are

   doctors, subject to various state and federal laws prohibiting the disclosure of patients' medical

   information.


           162.    The CHF Defendants required Plaintiff to skiare his sensitive medical. information.

           163.    The CHF Defendants represented and promised that only Drs. Pickard and

   Dwinnell would have access to the information.

           164.    The CHF Defendants assumed the fiduciary duty through their promises, by

   words and conduct, to keep Plaintiff's medical information confidential. Plaintiff, in reasonable

   reliance on these promises, provided certain sensitive medical information to the CHF

   Defendants in confidence. Based upon the CHF Defendants' position over Plaintiff and their

   conduct and representations, the CHF Defendants' relationship with Plaintiff induced Plaintifif to

   relax the care and vigilance one ordinarily would exercise in dealing with a stranger.

                                                     ►
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           165.    The CHF Defendants owed Plaintiff a fiduciary duty to, including without

   limitation, maintain the confidentiality of his disabilities and medical information, and to not

   disclose that information to third-parties.

           166.    The CHF Defendants further owed Plaintiff a fiduciary duty to not disclose false

   or misleading medical information regarding Plaintiff to third-parties.

           167.    The CHF Defendants breached their fiduciary duty to Plaintiff by, without

   limitation, disclosing his medical information to the University of Iowa and the NNIRP.

           168.    The CHF Defendants breached their fiduciary duty to Plaintiff by, without

   limitation, disclosing incorrect medical information to the University of Iowa and the NMRP.

           ].69.   The CHF Defendants' breach of their fiduciary duty caused Plaintiff damage in an

    amount to be determined at trial, including without limitation, actual, incidental, consequential,

    and compensatory damages, and interest.

                                      SEVENTH CLAIM FOR RELIEF
                                 (Civil Conspiracy Against CHF Defendants)

            170.    Plainrif~ incorporates hereui the foregoing paragraphs of the Complaint as if

    reinstated in full herein.

            171.    The CHF Defendants agreed by words and conduct, to an unlawfi~l goal by

    unlawful means. The CHF Defendants' agreement is supported by, including without limitation,

    their working jointly and in concert to interfere with Plaintiff's contracts with the University of

    Iowa and the NMRP, to fraudulently induce Plaintiff to return. to the Program, and/or with the

    lulowledge and ratification of the other's unlawiiil conduct.
                                                     29
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          172.    The CHF Defendants' conspiracy has damaged Plaintiff in an amount to be

   determined at trial, including without limitation, acriial, incidental, consequential, and

   compensatory damages, and interest.

                                            JURY DEMAND

          Plaintiff demands a trial by jury on all issues so triable.

          WHEREFORE, Plaintiff Trevor L. Jones respectfully requests that the Court enter

   judgment in his favor and against Defendants HealthONE d/b/a The Colorado Health

   Foundation, Jeffrey Pickard, M.D., Brian G. Dwinnell, M.D., and Glenn Levy, jointly anti

   severally, on the claims set forth above, enter the requested relief set forth above for each claim,

   award him his attorneys' fees and costs, and for such other and further relief as the Court deems

   just and proper.

          RESPECTFULLY SUBMITTED this 15th day of June 2018.

                                              GOODSPEED & MERRILL

                                             /,s/Miro Kovace>>ic
                                              Miro Kovacevic, #35981
                                              Counsel for• Plaintiff Ti•evor~ L. Jones

   Plaintiff's address:
   10447 North Sky Drive
   Lone Tree, Colorado 80124




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Case 1:19-cv-00629-KLM Document 1-1 Filed 03/04/19 USDC Colorado Page 32 of 50




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              November 22,2016                                          CASE NliMBF_R: 2018CV~2237



              Trevor ]ones, MT)
              1 447 V. Sky Drive
              Lone Tree, CQ 80124

              bear 'Trevor,

              As you know, Drs. Picard, Dwinnell end Levy contacted me to make me ~~vare of the
              accommodations you are receiving during your internship,

              Please let me know the circumstances of your situation includi~rg any current
              accommodations tieing provided, so that we can properly understand and assess the situation.

              Sincerely,



              Mary~ne, MD
              Program Director, Dermatology Residency

              MS/cm




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  Case 1:19-cv-00629-KLM Document 1-1 Filed 03/04/19 USDC Colorado Page 33 of 50




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---------- Forwarded message ----------
From: Stone, Mary <~z~ary-stone{~;;Lliowa.edu>
Date: Fri, Jan 13, 2017 at 10:58 AM
Subject: Update
To: "Trevor Jones (tr~ejoiles 1987(tz,~mail.com)" <trejones 1987(c~ 7~Z~ail.coi~>>

Dear Trevor,

Regarding your prior email regarding your warking thrpugh same issues, do you have an update fc~r us? As patient
safety must be our first priority, and all residents must k~e able to successfully complete all aspects of trainir7g in order to
safiely care fior patients, please let us know if any of these issues could impact your training.

Sincerely,

Mary Stone




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                                                                                                         EXHIBIT 2
  Case 1:19-cv-00629-KLM Document 1-1 Filed 03/04/19 USDC Colorado Page 34 of 50




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---------- Forwarded message ----------
From: Stone, Mary <mary-stone(c~;~~iowa.edu>
Date: Pri, Mar 17, 2017 at 3:06 PM
Subject: Iowa
To: "Trevar Jones (u•eiones1987(rz~i~ail.coll~)" <tre~on_es1987 ~r~ 7~naiLcoui>




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communication is strictly prohibited. If you have received this communication in error, please notify the sender
immediately and delete or destroy all copies of the original message and aCtachments thereto. Email sent ~to or
from U1 Health Care tnay be retained as required by law or regulation. Thank you.




                                                                                              EXHIBIT 3
Case 1:19-cv-00629-KLM Document 1-1 Filed 03/04/19 USDC Colorado Page 35 of 50




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                                                                                http.•/%vivw,raihealt6acare.co+n,'depts/mecL'drrmninlogy;~
March Z7, 2017

Dear Trevor,

  have been in touch with Becky Iliff, UE Health Care Leave and Disability Administrator, regarding her
communications with you about accommodations. Becky informs me that you are currently undergoing some
testing, but that you have not yet provided the medical information she requested on January 25, 20.7,tq
assist us in identifying potentially appropriate accommodations.

First, l am very sorry for the difficulties you have experienced and hope that we can find a way for ypu to be
successful. However, based on comments you made to me regarding dexterity limitations in your hand and
information shared with me by Drs. Picard,(7winnell, end Levy about visual limitations, t am concerned about
your ability to perform the essential functions associated with your residency. I am told that your visual issues
are such that you cannot easily interact with ypur inpatient EMR. As you know, visual acuity is critical in
dermatology for patient exams, pathologic diagnosis and surgical therapies. Visual impairment in a
dermatologist has potential to be a major patient safety issue. For example, lack of the ability to recognize
subfile visual features can be the difference between finding a melanoma in an early curable phase and
allowing it to remain undiagnosed with potentially fatal outcome.

Every day in clinic, one has to do thin shave biopsies accurately as to not injure nearby structures and do punch
biopsies and suture them dosed. Moreover, one must be able to close surgical wounds near the eye with► 6-0
suture and examine and accurately interpret pathology specimens. This requires both visual and manual
acuity. Dermatology is a specialty in which normal visual acuity with a reasonable amount of preserved visual
field is required to practice safely and effectively. Becky shared with you the Technical Standards for
Admission and Retention which states that all trainees "must have the functional ability to observe and must
have sufficient use of the senses necessary to perform all necessary physical examination and patient care
pursuant to their specialized area of training". Based on the information shared with me, we need information
from you about potential accommodations promptly. Please respond by email no later than March 27,
attaching the documentation requested by Becky in her January 25, 2017 correspondence and a description of
how you plan to perform the essentiaE functions of this pt~sition, including any accommodations you may
require.

If you da not wish to discuss accommodations and/or your ability to meet the essential position requirements,
you have the option of pursuing a waiver through the Alational Resident Matching Program to terminate the
residency commitment and thus release both yourself and the UIHC.




                                                                                                            EXHIBIT 3
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If I do not hear from you by April 5 indicating that you are capable of performing- all necessary patient care
pursuant to dermatology training or if you have not sought a waiver by Apri15, we will proceed to initiate the
waiver process through Nf2MP.

Again, I cannot express how badly al! of us feel for what you are going through, and we wou{d be happy to
discuss these issues with ydu.

Sincerely,



Mary .Stone, MD
Mary Jo Godwin Prafiessor of Dermatology and Pathology
Program Director, Dermatology


cc:    Becky Cliff
b~c:   br. Mark Wilson
       Cynthia Geyer, J.d., M.A.




                                                                                                EXHIBIT 3
   Case 1:19-cv-00629-KLM Document 1-1 Filed 03/04/19 USDC Colorado Page 37 of 50




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---------- Fnrv~~arded message ----------
Fcom: Trevor• Jones <lr~:~~es 1~~7 ry maiL.c~~1~1>
Date: 7"ue, Jan. 23, 2018 at 2:57 PM           ~^--
Subject: Thank. Yoc~!
To: ",T~ftre~icicarc~lii;_He~.~( l,~O~IL,cares.con~~" <Jc;~f'tt•ev.P,icl<~li~d~c~~,l~eal►l~o~~ecaXe:~c~~r?~>

Deer Dr Picard.


"Tl~anl< you fio1~ your kind words about me yesterday il~ yo a depc~sitio~~_ I also wart to tl~anlc yoi~ for e~n~il~litti~~~
tugconditionally to agreeing to all tl~e reasonable accommodations T need to renlrn promptly to finish my
i~~.tei-nship.


E1s Dr. Scllaf'f sCatcd on 07,•`06%201.7, same aceommodakion and st~•uchire I receiv~:d in outpatient block including hilt not limited to:



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          • 36 honi•s week
          • 5 days a ~veci< uo ~~jeciccnds
          • start ~~C end titncs, 8atu to 4pm
          • 2-3 paCient cap
          • No nights
          • Drago~l
          • rest time if needed



~'ow~ testimony protnisin, to retu~~A1 ~~~ to this pz•ograin iu one: ~t~eek, with ill m5- accoirunodatioils accepted, is a huge wei~t~t off i~ry mind.
AllI need is an opportunity. I won't let you down. 1~4y E7hone ntuuher~ is .i0,3-482- t 1 G8. Let me 1<nou~ ~~~hen I can return and coi~i~lcte.


Thanks.

Tt•cvor




                                                                                                                              EXHIBIT 4
  Case 1:19-cv-00629-KLM Document 1-1 Filed 03/04/19 USDC Colorado Page 38 of 50




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                                                                      Ct~SP, NUMI3F~R: 201.8C~'3?237


---------- Forwarded message ----------
From: <Jeff:rey.Pickax-d(cr~,healChonecares.com>
Date: Fri, Jan 26, 2018 at 12:05 PM
Subject: Return to work
To: treionesl.987(~;gi~,lail.coril
Ce: Jonathan.manheim(ciucdenver.edu, EI..ISA.BETH.IH_I..,I~R~c~ttcde~lver.edu, mliaz~iton(ci~coloractoliealth.or~,
glevyc`crcolor-aclohcalt(~.or~, I3rett.Paintcr(cc;d~sla~v.com

Trevor,



Thank you for your email. While I disagree with some of your characterizations, (appreciate the
information you have provided, and we are prepared for your return to the program.



Please meet Dr. Ihler at Uptown Primary Care Clinic on Tuesday, January 30, 2018 at 8 AM to start
your next rotation, which will be outpatient internal medicine and will implement the accommodations
you requested in your email.



Have a good weekend and we'll see you next week.



Jeffrey Pickard, MD, FACP

Director, Transitional Internship

The Colorado Health Foundation

Associate Professor of Medicine

University of Colorado, Denver

1721 E. 19t" Ave, Suite 520

Denver, Colorado 80218

Main: 303-839-6741

                                                                                                  EXHIBIT 5
 Case 1:19-cv-00629-KLM Document 1-1 Filed 03/04/19 USDC Colorado Page 39 of 50



Fax: 303-869-2258

Jeffrey.pickardCa7healthonecares.cam




                                                                  EXHIBIT 5
Case 1:19-cv-00629-KLM Document 1-1 Filed 03/04/19 USDC Colorado Page 40 of 50




    DISTRICT COURT~ CITY AND COUNTY OF                                    ~ `' `' 41.4 ~~
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    DENVER                                                   c s~, tvuNrz~FR: ?o~ Kcvs223~
    STATE OF COLORADO

    1437 Bannock Street
    Denver, CO 80202


    PLAINTIFF:
    TREVOR L. JONES, an individual,

    v.

    DEFENDANTS:
    HEALTHONE d/b/a THE COLORADO HEALTI~
    FOUNDATION, a Colorado nonprofit corporation;
    JEFFREY PICKARD,an individual; BRIAN G.
    DWINNELL,an individual; and GLENN LEVY, an
    individual.

    ATTORNEYS FOR PLAINTIFF:
    GOODSPEED & MERRILL                                          Case No. 2018CV
    Miro Kovacevic,#35981
    Scott W. Drusch,#42494                                       Cti77z./Div.
    7800 East Union Avenue, Suite 600
    Denver, CO 80237
    Telephone:(720)473-7644
    Email• m~k(c~,goodspeedllieri~il.l.cot~~~.
           sdnlseh(«~peedmerrilL~on~i


       DISTRICT COURT CIVIL(CV)CASE COVER SHEET FOR INITIAL
    PLEADING OF COMPLAINT,COUNTERCLAIM,CROSS-CLAIM OR THIRD
                         PARTY COMPLAINT

         This cover sheet shall be filed with each pleading containing an initial claim for relief
         in every district court civil(CV)case, and shall be served on all parties along with the
         pleading. It shall not be filed in Domestic Relations (DR), Probate (PR), Water (CW),
         Juvenile (JA, JR, JD, JV), or Mental Health (MH)cases. Failure to file this cover sheet is
         not a jiu~isdictional defect in the pleading but may result in a clerk's show cause order
         requiring its filing.
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    2. Check one of the following:

      O This case is governed by C.R.C.P. 1 G.1 because:

              -   The case is not a class action, domestic relations case,juvenile case, mental health
                  case, probate case, water law case, forcible entry and detainer, C.R.C.P. 106,
                  C.R.C.P. 120, or other similar expedited proceeding; AND

                  A monetary judgment over $100,000 is not sought by any party against any other
                  single party. This amount includes attorney fees, penalties, and punitive damages;
                  it excludes interest and costs, as well as the value of any equitable relief sought.

      ❑
      D This case is not governed by C.R.C.P. 16.1 because (check ALL boxes that apply):

                  O      The case is a class action, domestic relations case, juvenile case, mental
                  health case, probate case, water law case, forcible entry and detainer, C.R.C.P.
                  106, C.R.C.P. 120, or other similar expedited proceeding.

                  D       A monetary judgment over $100,000 is sought by any party against any
                  other single party. This amount includes attorney fees, penalties, and punitive
                  damages; it excludes interest and costs, as well as the value of any equitable relief
                  sought.

                  D      Another party has previously indicated in a Case Cover Sheet that the
                  simplitled procedure under C.R.C.P. 16.1 does not apply to the case.

      NOTE: Ira nary case to whzch C.R.C.P. .16.1 does riot apply, the parties nzay elect to use the
      simplified pr•ocedur~e by ,separ~utely fi.lrng a Sti~ulatio~a to be govet•~ied ley the r~iele ~~ithi~z 49
      days of th.e at-issue date. See C.R.C.P. 16.1(e). In any case to which C.R.C.P. 16.1 applies,
      the parties may opt out ofthe rule by separately,filing a Notice to Elect Exclusion (JDF 602)
      withi~i 35 days ofthe at-issue date. See C.R.C.P. 16.1(4).

      O A Stipulation or Notice with respect to C.R.C.P. 16.1 has been separately filed with the
      Court, indicating:

                  O C.R.C.P. 16.1 applies to this case.

                   ❑ C.R.C.P. 16.1 does not apply to this case.

   3. ❑D This party makes a Jury Demand at this time and pays the requisite fee. See C.R.C.F.
      38. (Checking this box is optional.)
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         Dated: June 15, 2018.
                                    GOODSPEED & MERRILL

                                    By: s/Mr:r•o Kovacevic
                                        Miro Kovacevic,#35981
                                       Atton~.eys,foy Plnintiff
Case 1:19-cv-00629-KLM Document 1-1 Filed 03/04/19 USDC Colorado Page 43 of 50




    DISTRICT COURT~ CITY AND COUNTY OF                                  ~     ~'
                                                           Fli_TNG 1D: IECFC9BF96824        ''
    DENVER                                                 c. sF ~Tut~t~Ftz: 20 ~ sr_ v~22~7
    STATE OF COLORADO

    1437 Bannock Street
    Denver, CO 80202


    PLAINTIFF:
    TREVOR L. JONES, an individual,

    v.

    DEFENDANTS:
    HEALTHONE d/b/a THE COLORADO HEALTH
    FOUNDATION,a Colorado nonprofit corporation;
    JEFFREY PICKARD,an individual; BRIAN G.
    DWINNELL,an individual; and GLENN LEVY, an
    individual.

    ATTORNEYS FOR PLAINTIFF:
    GOODSPEED & MERRILL                                       Case No. 2018CV
    Miro Kovacevic,#35981
    Scott W. Drusch, #42494                                   Ctrm./Div.
    7800 East Union Avenue, Suite 600
    Denver, CO 80237
    Telephone:(720)473-7644
    Email: mlc(n;~roodspeedinerrill.co~n
           sdruscY~(a:; ~oodspeeclmeri-ill.co.►n.


                               DISTRICT COURT CIVIL SUMMONS


    TO THE ABOVE NAMED DEFENDANT:                   Healthone d/b/a The Colorado
                                                    Health Foundation

   YOU ARE HEREBY SUMMONED and required to file with the Clerk of this Court an answer
   or other' response to the attached Complaint. If service of the Summons and Complaint was
   made upon you within the State of Colorado, you are required to file your answer or other
   response within 21 days after such service upon you. If service of the Summons and Complaint
   was made upon you outside of the State of Colarado, you are required to ale your• answer or
Case 1:19-cv-00629-KLM Document 1-1 Filed 03/04/19 USDC Colorado Page 44 of 50




   other response within 35 days after such service upon you. Your answer or counterclaim must
   be accompanied with the applicable tiling fee.

   If you fail to file your answer or other response to the Complaint in writing within the applicable
   time period, the Court may enter judgment by default against you for the relief demanded in the
   Complaint without further notice.



            Dated: June 15, 2018.
                                                         GOODSPE~D & MERRII.L

                                                         By: s/Miro Kovacevic
                                                             Miro Kovacevic, #35981
                                                            Attorneysfoy Plarfatiff


   WARNING: A valid summons may be issued by a lawyer and it need not contain a court case number, the
   signature of a coiu-t officer, or a court seal. The plaintiff has l4 days from the date this summons was served on you
   to file the case with the court. You are responsible for contacting the court to find out whether the case has been
   filed and obtain the case number. If the plaintiff files the case within this time, then you must respond as explained
   in this summons. If the plaintift~ files more than 14 days after the date the summons was served on you, the case
   may be dismissed upon motion and you maybe entitled to seek attorney's fees from the plaintiff.




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Case 1:19-cv-00629-KLM Document 1-1 Filed 03/04/19 USDC Colorado Page 45 of 50




    DISTRICT COURT CITY AND COUNTY OF                            J t~: i Fcrc9Rr9csz~
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    DENVER                                                 C SF; NUMI3L:P.: 21)18CV~223?
    STATE OF COLORADO

    1437 Bannock Street
    Denver, CO 80202


    PLAINTIFT:
    TREVOR L. JONES, an individual,

    v.

    DEFENDANTS:
    HEALTHONE d/b/a THE COLORADO HEALTH
    FOUNDATION,a Colorado nonprofit corporation;
    JEFFREY PICKARD,an individual; BRIAN G.
    DWINNELL,an individual; and GLENN LEVY, an
    individual.

    ATTORNEYS FOR PLAINTIFF:
    GOODSPEED & MERRILL                                       Case No. 2018CV
    Miro Kovacevic, #35981
    Scott W. Drusch,#42494                                    Ctrm./Div.
    7800 East Union Avenue, Suite 600
    Denver, CO 80237
    Telephone:(720)473-7644
    Email: r~~k(r~~oodspeediz~eri~ilLcom
           sdrusc~~(a~~oodspeedn~errill.com


                            DISTRICT COURT CIVIL SUMMONS


   TO THE ABOVE NAMED DEFENDANT:                    Jeffrey Pickard

   YOU ARE HEREBY SUMMONED and required to file with the Clerlc of this Court an answer
   or other response to the attached Complaint. If service of the Summons and Complaint was
   made upon you within the State of Colorado, yOLl are required to ale your answer ot~ other
   response within 21 days after such service upon you. If service of the Summons and Complaint
   was made upon you outside of the State of Colorado, you a.re required to file your answer or
Case 1:19-cv-00629-KLM Document 1-1 Filed 03/04/19 USDC Colorado Page 46 of 50




   other response within 35 days after such service upon you. Your answer or counterclaim must
   be accompanied with the applicable filing fee.

   If you fail to file your answer or other response to the Complaint in writing within the applicable
   tune period, the Court may enter judgment by default against you for the relief demanded in the
   Complaint without further notice.



            Dated: June 15, 2018.
                                                         GOODSPEED & MERRILL

                                                         By: s/Mir~o Kovacevic
                                                             Miro ICovacevic, #35981
                                                            Attorneysfor Plai~7~tiff


   WARNING: A valid summons may be issued by a lawyer and it need not contain a court case number, the
   signature of a court officer, or a coiut seal. The plaintiff has 14 days from the date this summons was served nn you
   to file the case with the cotu-t. You are responsible for contacting the coiu-t to find out whether the case has been
   filed and obtain the case number. If the plaintiff files the case within this time, then you must respaid as explained
   in this summons. If the plaintiff files more than 14 days after the date the summons was served on you, the case
   may be dismissed upon motion and you may be entitled to seek attorney's fees from the plaintiff.




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Case 1:19-cv-00629-KLM Document 1-1 Filed 03/04/19 USDC Colorado Page 47 of 50




    DISTRICT COURT,CITY AND COUNTY OF                      ~I~tN~'Iv: iFCF~CnEit'9~e24
    DENVER                                                 c. s~. NUMF3t=iz: ^o~sr_v3~2~~   '
    STATE OF COLORADO

    1437 Bannock Street
    Denver, CO 80202


    PLAINTIFF:
    TREVOR L. JONES, an individual,

    v.

    DEFENDANTS:
    HEALTHONE d/b/a THE COLORADO HEALTH
    FOUNDATION, a Colorado nonprofit corporation;
    JEFFREY PICKARD, an individual; BRIAN G.
    DWINNELL,an individual; and GLENN LEVY,an
    individual.

    ATTORNEYS FOR PLAINTIFF:
    GOODSPEED & MERRILL                                       Case No. 2018CV
    Miro Kovacevic,#35981
    Scott W. Drusch,#42494                                    Ctrm.lDiv.
    7800 East Union Avenue, Suite 600
    Denver, CO 80237
    Telephone:(720)473-7644
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                 ,~,00dspeedmerrill.co:i~1
            s~rusch(ci;goodspeedmerrill.com


                            DISTRICT COURT CIVIL SUMMONS


   TO THE ABOVE NAMED DEFENDANT:                    Brian G.Dwinnell

   YOU ARE HEREBY SUMMONED and required to file with the Clerlc of.this Court an answer
   or other response to the attached Complaint. If service of the Summons and Complaint was
   made upon you within the State of Colorado, you are required to file your answer or other
   response within 21 days after such service upon you. If service of the Summons and Complaint
   was made upon you outside of the State of Colorado, you are required to file your answer or
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   other response within 35 days after such service upon you. Your answer or counterclaim must
   be accompanied with the applicable ailing fee.

   If you fail to file your answer or other response to the Complaint in writing within the applicable
   time period, the Court may enter judgment by default against you for the relief demanded in the
   Complaint without further notice.



            Dated: June 15, 2018.
                                                         GOODSPEED & MERRILL

                                                         By: s/Miro Kovacevic
                                                             Miro Kovacevic,#35981
                                                            Attor~»~eysfor Plaifitiff


   WARNING: A valid surrnnons may be issued by a lawyer and it need not contain a court case number, tl~e
   signature of a coiu•t officer, or a court seal. The plaintiff has 14 days from the date this summons was served on you
   to file the case with the cotut. You are responsible for contacting the court to find out whether the case has been
   filed and obtain the case number. If the plaintiff files the case within this time, then you must respond as explained
   in this summons. If the plaintiff files more than 14 days after the date the sununons was served on you, the case
   maybe dismissed upon motion and you may be entitled to seek attorney's fees from the plaintiff.




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Case 1:19-cv-00629-KLM Document 1-1 Filed 03/04/19 USDC Colorado Page 49 of 50




    DISTRICT COURT~ CITY AND COUNTY OF                         ~" ID;
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                                                                       ''      ~'        '-   `
    DENVER                                                 C SF, NUMRF-,T:: ''018C~'3?237
    STATE OF COLORADO

    1437 Bannock Street
    Denver, CO 80202


    PLAINTIFF:
    TREVOR L. JONES, an individual,

    v.

    DEFENDANTS:
    HEALTHONE d/b/a THE COLORADO HEALTH
    FOUNDATION, a Colorado nonprofit corporation;
    JEFFREY PICKARD,an individual; BRIAN G.
    DWINNELL, an individual; and GLENN LEVY, an
    individual.

    ATTORNEYS FOR PLAINTIFF:
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    Miro Kovacevic, #35981
    Scott W. Drusch,#42494                                    Ctrm./Div.
    7800 East Union Avenue, Suite 600
    Denver, CO 80237
    Telephone:(720)473-7644
    Entail: 1~11c(a~.~oc~dspeedmerri ll.eon~_
            sdnisch(~_~~~eedmerrill.com


                             DISTRICT COURT CIVIL SUMMONS


   TO THE ABOVE NAMED DEFENDANT:                    Glenn Levy

   YOU ARE HEREBY SUMMONED and required to file with the Clerk of this Court an answer
   or other response to the attached Complaint. If service of the Siunmons and Complaint was
   made upon you within the State' of Colorado, you are required to file your answer or other
   response within 21 days after such service upon you. If service of the Summons and Complaint
   was made upon you outside of the State of Colorado, you are required to file your answer or
Case 1:19-cv-00629-KLM Document 1-1 Filed 03/04/19 USDC Colorado Page 50 of 50




   other response within 35 days after such service upon you. Your answer- or counterclaim must
   be accompanied with the applicable filing fee.

   If you fail to ale your answer or other response to the Complaint in writing within the applicable
   time period, the Court may enter judgment by default against you for the relief demanded in the
   Complaint without further notice.



            Dated: June 15, 2018.
                                                         GOODSPEED & MERRILL

                                                         By: s/Miro Kovacevic
                                                            Miro Kovacevic, #35981
                                                            Attor~iieysfor• Plai~Ztiff


   WARNING: A valid summons i1~ay be issued by a lawyer and it need not contain a court case member, the
   siguature of a court officer•, or a coiut seal The plaintiff has 14 days from the date this summons was served nn you
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   filed and obtain the case number. If'the plaintiff files the case within khis time, then you must respond as explained
   in this summons. If the plaintiff files more than 14 days after tl~e date the summons was served nu you, flee case
   may be dismissed upon motion and you may be entitled to seek attorney's fees from the plaintiff.




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